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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                  )
                                                           )
    ALEXANDER E. JONES                                     )     CASE NO. 22-33553
                                                           )
                   DEBTOR.                                 )     (CHAPTER 11)
                                                           )
                                                           )     JUDGE CHRISTOPHER M. LOPEZ

       SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. FOR
          ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS
             CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
                 JANUARY 1, 2023 THROUGH JANUARY 31, 2023

    Name of Applicant:             Crowe & Dunlevy, P.C.
    Applicant’s Role in Case:      Co-Counsel to Debtor
    Date Order of Appointment January 20, 2023 (Dkt #104)
    Signed:
                                       Beginning of Period           End of Period
    Time Period Covered in         01/01/2023                 01/31/2023
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $104,176.801
                                                              (80% of $130,221.00)
    Total Reimbursable Expenses Requested in this Statement: $1,089.212
               Summary Attorney Fees for the Period Covered by this Statement
    Attorneys Fees in this Statement:                         $115,913.50
    Total Actual Attorneys Hours Covered by this Statement: 173.50
    Average Hourly Rate for Attorneys:                        $668.08
            Summary Paraprofessional Fees for the Period Covered by this Statement
    Paraprofessional Fees Requested in this Statement:        $14,307.50
    Total Actual Paraprofessional Hours Covered by this 48.50
    Statement:
    Average Hourly Rate for Paraprofessionals:                $295.00




1
  Counsel is holding $278,108.88 as a retainer in its IOLTA Account which is included in this fee/expense request.
2
  The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.

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            In accordance with the Order Granting Motion for Entry of an Order
            Establishing Procedures for Interim Compensation and Reimbursement
            of Expenses for Chapter 11 Professionals [Docket No. #106], each party
            receiving notice of the monthly fee statement will have 14 days after
            service of the monthly fee statement to object to the requested fees and
            expenses. Upon the expiration of such 14 day period, the Debtor is
            authorized to pay the Professional an amount of 80% of the fees and
            100% of the expenses requested in the applicable monthly fee
            statement.

       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], Crowe & Dunlevy, P.C. (“C&D”), as co-counsel to the

Debtor, hereby files its Second Monthly Fee Statement of Crowe & Dunlevy, P.C. for Allowance

of Compensation for Services Rendered as Co-Counsel to the Debtor for the Period from January

1, 2023 through January 31, 2023 (the “Monthly Fee Statement”).

                                    RELIEF REQUESTED

       1.      By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

C&D seeks interim payment of $104,176.80 (80% of 130,221.00) as compensation for

professional services rendered to the Debtor during the period from January 1, 2023 through

January 31, 2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $1,089.21, for a total amount of $105,266.01 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.      In support of the Monthly Fee Statement, C&D submits a Summary of Expenses for

the Fee Period, attached hereto as Exhibit A, a Summary of Legal Fees by Category as Counsel


SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 2
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for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as Co-Counsel for the

Fee Period, attached hereto as Exhibit C.

       3.      Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),

and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Proposed Counsel to the Official Committee of Unsecured
                       Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                       New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                       Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                       dzensky@akingump.com, mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com,
                       msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                       Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                       Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.



SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 3
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In light of the nature of the relief requested herein, C&D submits that no further or other notice is

required.

           4.       Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. C&D reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, and the Interim Compensation Order.

           5.       Therefore, C&D respectfully submits support for its fees in the amount of

$104,176.80 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $1,089.21 for reasonable, actual and necessary expenses incurred during

the Fee Period. C&D further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to C&D the amount of $105,266.013 which

is equal to the sum of 80% of C&D’s fees and 100% of C&D’s expenses incurred during the Fee

Period.




3
    Such payment to be made first from any existing retainer funds held by C&D for the Debtor.

SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 4
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Houston, TX
Dated: March 2, 2023

                                         CROWE & DUNLEVY, P.C.

                                         By: /s/ Christina W. Stephenson
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         ATTORNEYS FOR DEBTOR ALEXANDER
                                         E. JONES




SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 5
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                                CERTIFICATE OF SERVICE

I certify that on March 2, 2023, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Proposed Counsel to the Official Committee of Unsecured
                      Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park,
                      New York, NY 10036 (Attn: David M. Zensky, Marty L. Brimmage,
                      Jr.,   Sara    L.   Brauner    and     Melanie    A.    Miller;
                      dzensky@akingump.com, mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com,
                      msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001
                      Fannin Street, Suite 2700, Houston, TX 77002 (Attn: Avi
                      Moshenberg, avi.moshenberg@mhllp.com) and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                               EXHIBIT “A”
                  SUMMARY OF EXPENSES FOR THE FEE PERIOD


                         EXPENSE                               TOTAL
Online Research                                                  3.40
Working Meals                                                   134.79
Lodging/Travel                                                  951.02




SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 7
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                                     EXHIBIT “B”
          SUMMARY OF LEGAL FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD

CATEGORIES                                ATTORNEY TIME   PARALEGAL TIME

B110 Case Administration                       62.00             11.4
B120 Asset Analysis and Recovery               20.90             10.9
B130 Asset Disposition                          1.30             0.9
B140 Relief from Stay/Adequate
Protection                                      4.70             0.4
B150 Meetings of & Communications with
Creditors                                       8.80             0.2
B160 Fee/Employment Applications               45.70            22.40
B170 Fee/Employment Objections                 71.80            0.00
B180 Avoidance Action Analysis                  0.00            0.00
B185 Assumption/Rejection of Executory
Contracts                                      13.70             1.4
B190 Other Contested Matters                    9.70              0.6
B195 Non-Working Travel                         4.00             0.00
B210 Business Operations                       11.50             0.00
B220 Employee Benefits/Pensions                 0.00             0.00
B230 Financing/Cash Collections                 0.00             0.00
B240 Tax Issues                                13.30             0.00
B250 Real Estate                                0.00
B260 Board of Directors Matters                 0.00
B310 Claims Administration and
Objections                                      1.30             0.00
B320 Plan and Disclosure Statement               .30             0.00
B410 General Bankruptcy
Advice/Opinions                                 0.00            0.00
B420 Restructurings                             0.00            0.00
TOTALS:                                        173.50           48.50




SECOND MONTHLY FEE STATEMENT OF CROWE & DUNLEVY, P.C. – Page 8
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                              EXHIBIT “C”

        DETAILED RECORD OF FEES FOR THE FEE PERIOD




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                                        2525 MCKINNON, SUITE 425
                                            DALLAS, TX 75201
                                              (214) 420-2163
                                           TAX I.D. NUMBER XX-XXXXXXX




                                                                                                    February 28, 2023
                                                                                                     Invoice # 750396
 Alex "AJ" Jones
 ATTN: Shelby A. Jordan                                                                         Responsible Attorney
 6207 Bee Cave Road, Suite 120                                                                      Vickie L. Driver
 Austin, TX 78746


 Client #           50134
 Matter #           00802

 Post – petition


                                          INVOICE SUMMARY

Current Invoice Total Fees                                                                         $130,221.00
Current Invoice Total Expenses                                                                        $1,089.21
Current Invoice Total                                                                              $131,310.21




                                              Payment Instructions

  Check Remittance:                            Credit Card Remittance:                              Wire Remittance:

  Mail To:                           https://www.crowedunlevy.com/makeapayment/                 Bank Name: BancFirst
  Crowe & Dunlevy                                                                                 Routing #103003632
  Braniff Building                                                                          Oklahoma City, OK 73102
  324 N. Robinson Ave., Ste. 100                                                      Account Name: Crowe & Dunlevy
  Oklahoma City, OK 73102                                                                 Account Number 4025023715
                                                                                               Swift Code BFOKUS44


          Please refer to Invoice # 750396 and any other invoice numbers being paid on your remittance.
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         Client #          50134                                                    Invoice # 750396
         Matter #          00802                                                 Responsible Attorney
                                                                                     Vickie L. Driver
         Post - petition


                                   SUMMARY OF PREVIOUS UNPAID INVOICES
Invoice             Invoice
Number              Date                      Amount Billed    Credits Applied            Balance Due

748460              01/27/2023                   216,152.92       -173,698.12               42,454.80

                    TOTALS:                     $216,152.92      $-173,698.12              $42,454.80
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                                                                      February 28, 2023

Client #          50134                                                              Invoice # 750396
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition




 01/02/2023           C. Stephenson   B110/   Review correspondence and                         1.40
                                                 messages regarding document
                                                 production and request
                                                 information.
 01/03/2023           C. Craig        B190/   Review and analyze Texas State                    0.30
                                                 Court filings to assess status
                                                 of actions against Debtor.
 01/03/2023           C. Stephenson   B110/   Review and respond to                             4.90
                                                 correspondence regarding
                                                 requests for information and
                                                 specific documents (2.4); calls
                                                 regarding same (1.2); review
                                                 and respond to inquiries
                                                 regarding specific creditor
                                                 notices (1.3).
 01/04/2023           C. Stephenson   B195/   Nonworking travel to Austin to                    2.00
                                                 meet with FAs and FSS
                                                 professionals [billed at half
                                                 time] (4.0).
 01/04/2023           E. Weaver       B110/   Electronic case file management                   3.20
                                                 of final versions of pleadings
                                                 and FSS and AJ filings.
 01/04/2023           E. Weaver       B120/   Electronic document and case file                 0.60
                                                 management of motor home
                                                 loan documents.
 01/05/2023           C. Craig        B160/   Draft revisions to proposed order                 0.40
                                                 on interim compensation
                                                 motion based on Trustee's
                                                 Office and Unsecured
                                                 Creditor Committee
                                                 comments.
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                                                                      February 28, 2023

Client #          50134                                                              Invoice # 750396
Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 01/05/2023           C. Craig        B160/   Draft revisions to proposed order                 0.30
                                                 on application to employ
                                                 Jordan & Ortiz based on
                                                 Trustee's Office and
                                                 Unsecured Creditor
                                                 Committee comments.
 01/05/2023           C. Craig        B160/   Draft revisions to proposed order                 0.30
                                                 on application to employ
                                                 Crowe & Dunlevy based on
                                                 Trustee's Office and
                                                 Unsecured Creditor
                                                 Committee comments.
 01/05/2023           C. Craig        B210/   Draft revisions to proposed order                 0.30
                                                 on utility motion based on
                                                 Trustee's office and
                                                 Unsecured Creditor
                                                 Committee comments.
 01/05/2023           C. Stephenson   B110/   Meetings with FAs and FSS staff                   5.30
                                                (3.5); meetings with business
                                                people (1.1); working dinner
                                                with B. Schliezer and H.
                                                Kessler (1.7).
 01/05/2023           C. Stephenson   B160/   Review revised orders and                         2.30
                                                 comments from UST and
                                                 UCC on professional
                                                 applications and interim
                                                 compensation motion.
 01/05/2023           C. Stephenson   B210/   Review revised proposed order on                  0.60
                                                 utility motion and related
                                                 correspondence.
 01/05/2023           E. Weaver       B110/   Review client files on Litshare to                0.50
                                                 determine if we have the trust
                                                 document for the
                                                 Missouri779384 Trust (.4);
                                                 email correspondence to C.
                                                 Stephenson regarding same
                                                 (.1).
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Jones, Alex "AJ"                                                                 Page 5
                                                                      February 28, 2023

Client #          50134                                                         Invoice # 750396
Matter #          00802                                                      Responsible Attorney
                                                                                 Vickie L. Driver
Post - petition

 01/05/2023           E. Weaver   B160/   Review case docket and compile                   2.80
                                             relevant pleadings to prepare
                                             for 01-06-2023 status
                                             conference in the FSS case.
 01/05/2023           E. Weaver   B160/   Review correspondence for                        0.30
                                             employment application
                                             received from Shelby Jordan's
                                             office and draft
                                             correspondence regarding
                                             same.
 01/05/2023           E. Weaver   B160/   Procure proposed order approving                 0.20
                                             interim compensation for
                                             Crowe & Dunlevy and draft
                                             correspondence regarding
                                             same.
 01/05/2023           E. Weaver   B320/   Review stipulation and agreed                    0.30
                                             order extending deadline to
                                             file plan of reorganization and
                                             object to dischargeability in
                                             the FSS case (.1); docket
                                             extended deadlines for same
                                             (.2).
 01/06/2023           C. Craig    B160/   Phone conference to obtain trust                 0.20
                                             formation documents per
                                             request by Trustee's Office to
                                             provide information regarding
                                             retainer paid to Crowe &
                                             Dunlevy on behalf of Debtor.
 01/06/2023           C. Craig    B160/   Draft correspondence to obtain                   0.20
                                             trust formation documents per
                                             request by Trustee's Office to
                                             provide information regarding
                                             retainer paid to Crowe &
                                             Dunlevy on behalf of Debtor.
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Client #          50134                                                            Invoice # 750396
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 01/06/2023           C. Stephenson   B110/   Attend FSS Status conference                    4.40
                                                  (.5); draft related
                                                  correspondence (.4); breakfast
                                                  meeting with B. Schliezer and
                                                  H. Kessler (1.1); conference
                                                  regarding financials and
                                                  schedules matters (1.3); calls
                                                  and correspondence regarding
                                                  trust (.8); review and respond
                                                  regarding open IDI items (.3).
 01/06/2023           C. Stephenson   B160/   Review Missouri Trust document.                 0.90


 01/06/2023           C. Stephenson   B195/   Nonworking travel to Dallas                     2.00
                                                 [billed at half time] (4.0).
 01/06/2023           E. Weaver       B110/   TXSOS search for Atomial, LLC                   1.00
                                                and search for addresses for
                                                returned notices of
                                                bankruptcy.
 01/06/2023           E. Weaver       B110/   Attention to correspondence from                0.10
                                                  US Trustee's office regarding
                                                  open items discussed at the
                                                  initial debtor interview and
                                                  forward to Blackbriar
                                                  Advisors.
 01/09/2023           N. Collins      B240/   Research IRS guidance on                        1.70
                                                 donations of cryptocurrency
                                                 for federal income tax
                                                 purposes.
 01/09/2023           C. Craig        B210/   Review and analyze                              0.60
                                                 correspondence from utility
                                                 provider regarding utility
                                                 motion (.2); review client info
                                                 to develop response to same
                                                 (.2); draft response to utility
                                                 provider (.2).
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                                                                      February 28, 2023

Client #          50134                                                             Invoice # 750396
Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
Post - petition

 01/09/2023           V. Driver       B110/   Calls and emails with client and                 2.50
                                                  financial advisors preparing
                                                  for 341 meeting (1.3); review
                                                  and analyze comments to first
                                                  day orders and related issues
                                                  on upcoming hearing (1.2).
 01/09/2023           V. Driver       B150/   Emails with T. Whitley at                        0.20
                                                Security bank on motor home
                                                loan and guaranty (.3); emails
                                                with committee counsel on
                                                status calls (.2).
 01/09/2023           C. Stephenson   B160/   Review and respond to UCC                        2.80
                                                 correspondence regarding
                                                 objection deadlines and
                                                 proposed meeting times (.6);
                                                 revise proposed orders (.8);
                                                 draft UST correspondence
                                                 regarding same (.8); review
                                                 and respond to
                                                 correspondence regarding
                                                 interim compensation
                                                 procedures (.6).
 01/09/2023           C. Stephenson   B190/   Review client documents and                      4.40
                                                 information and draft related
                                                 correspondence.
 01/09/2023           C. Stephenson   B210/   Attention to utility                             0.40
                                                  communication and draft
                                                  related correspondence.
 01/09/2023           E. Weaver       B110/   Research notice address for                      0.40
                                                 customers in bankruptcy and
                                                 coordinate service of Utilities
                                                 motion to updated address.
 01/09/2023           E. Weaver       B160/   Review revised proposed order                    0.10
                                                 granting interim
                                                 compensation procedures with
                                                 comments from the UST and
                                                 UCC.
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Client #          50134                                                        Invoice # 750396
Matter #          00802                                                     Responsible Attorney
                                                                                Vickie L. Driver
Post - petition

 01/10/2023           C. Craig    B120/   Review and analyze client-                      3.50
                                             provided materials to develop
                                             infographs on debtor business
                                             relationship (2.0); develop
                                             infographs on debtor business
                                             relationships (1.5).
 01/10/2023           C. Craig    B160/   Draft changes to Shelby Jordan                  1.10
                                             affidavit and Driver dec.
 01/10/2023           V. Driver   B110/   Calls with BlackBriar on progress               1.10
                                              in financial information for
                                              schedules and statements and
                                              remaining gaps in same.
 01/10/2023           V. Driver   B120/   Analyze need and contents of org                1.70
                                             chart for UST and other
                                             parties in interest (.6); review
                                             and revise same (.3); update
                                             committee on general status
                                             of financial investigation and
                                             related matters via email (.6);
                                             emails on security bank
                                             balance (.2).
 01/10/2023           V. Driver   B130/   Email with counsel for security                 0.40
                                            bank regarding status of
                                            creditor as unsecured due to
                                            guaranty (.2); emails
                                            regarding loan statement and
                                            outstanding balance (.2).
 01/10/2023           V. Driver   B160/   Review and approve                              0.80
                                             supplemental declaration for
                                             C&D employment application
                                             (.4); emails and analysis of
                                             emails from committee on
                                             differences in matrix and our
                                             disclosure listing (.4).
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                                                                      February 28, 2023

Client #          50134                                                            Invoice # 750396
Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 01/10/2023           C. Stephenson   B110/   Call with UST regarding                         0.90
                                                  schedules and proposed order
                                                  changes (.5); draft and review
                                                  related correspondence (.4).
 01/10/2023           C. Stephenson   B110/   Prepare for and attend initial 341              4.80
                                                 meeting (2.8); client call
                                                 regarding same (.6); draft and
                                                 review related correspondence
                                                 (.8); call with UST regarding
                                                 same (.3); call with financial
                                                 advisors regarding same (.3).
 01/10/2023           C. Stephenson   B160/   Review and respond to multiple                  2.20
                                                 UCC correspondence (.8);
                                                 review conflict inquiry (.7);
                                                 review and revise
                                                 supplemental declaration (.7).
 01/10/2023           C. Stephenson   B190/   Draft correspondence regarding                  2.00
                                                 follow up on requests for
                                                 documents from PQPR and D.
                                                 Jones (.4); draft
                                                 correspondence regarding
                                                 additional client documents
                                                 (1.6).
 01/10/2023           E. Weaver       B110/   Review and search client files for              0.20
                                                 Mountain Way, LLC and AJ
                                                 Agreement(s).
 01/10/2023           E. Weaver       B110/   Review and download document                    0.60
                                                 production FSS shared with
                                                 PQPR's counsel and
                                                 Subchapter V Trustee.
 01/10/2023           E. Weaver       B120/   Electronic document and case file               2.80
                                                 management of trust files,
                                                 intellectual property files, and
                                                 sales reconciliation report
                                                 received from Ray Battaglia.
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Matter #          00802                                                         Responsible Attorney
                                                                                    Vickie L. Driver
Post - petition

 01/10/2023           E. Weaver       B130/   Review email correspondence                     0.10
                                                 regarding past due loan with
                                                 Security Bank and question
                                                 regarding payoff of loan after
                                                 FSS case filed.
 01/11/2023           N. Collins      B240/   Draft summary correspondence to                 0.80
                                                 Vickie Driver and Crissie
                                                 Stephenson regarding the tax
                                                 treatment of bitcoin
                                                 donations.
 01/11/2023           V. Driver       B120/   Work with financial advisors to                 0.90
                                                organize documents for
                                                committee review in rolling
                                                production format (.7); follow
                                                up with counsel for D. Jones
                                                on production of information
                                                or documents (.2).
 01/11/2023           V. Driver       B150/   Initial weekly call with UCC                    0.90
                                                   lawyers to discuss various
                                                   letters set, responses to same,
                                                   and general working protocols
                                                   and document production
                                                   status.
 01/11/2023           C. Stephenson   B110/   Review and analyze Org Chart                    1.70
                                                 and draft related
                                                 correspondence (1.4); revise
                                                 Org chart PowerPoint (.3).
 01/11/2023           C. Stephenson   B110/   Draft correspondence regarding                  1.40
                                                 continued 341 Meeting (.6);
                                                 draft stipulation regarding
                                                 same (.8).
 01/11/2023           C. Stephenson   B150/   Prepare for and attend UCC call                 0.70
                                                 regarding various matters.
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Matter #          00802                                                           Responsible Attorney
                                                                                      Vickie L. Driver
Post - petition

 01/11/2023           C. Stephenson   B160/   Review and respond to UCC                         1.90
                                                 correspondence regarding
                                                 conflicts list (.2); draft and
                                                 review correspondence
                                                 regarding supplemental
                                                 declarations (1.7).
 01/11/2023           C. Stephenson   B190/   Review and respond to                             0.40
                                                 correspondence from S.
                                                 Roberts regarding requests for
                                                 information.
 01/11/2023           E. Weaver       B120/   Review and compile storage unit                   0.40
                                                 information/documents and
                                                 forward to Ray Battaglia via
                                                 fileshare.
 01/11/2023           E. Weaver       B120/   Electronic case file management                   1.80
                                                 and index 08-29-22 document
                                                 production FSS shared with
                                                 PQPR's counsel and
                                                 Subchapter V Trustee.
 01/11/2023           E. Weaver       B150/   Review notice of continued                        0.20
                                                 meeting of creditors and
                                                 docket new date and time for
                                                 meeting.
 01/12/2023           V. Driver       B110/   Emails regarding sharing                          0.30
                                                confidential information and
                                                documents with UST.
 01/12/2023           V. Driver       B120/   Review correspondence with                        0.20
                                                 counsel for D. Jones regarding
                                                 outstanding information
                                                 requests (.2).
 01/12/2023           V. Driver       B160/   Emails to set time to talk with CT                0.20
                                                attorney on employment and
                                                retainer accounting.
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                                                                                       Vickie L. Driver
Post - petition

 01/12/2023           A. Gerard       B110/   Review conflicts documents to                      1.00
                                                 determine reason for presence
                                                 of certain parties on disclosure
                                                 and arrange for additional
                                                 conflicts check on new
                                                 entities and individuals.
 01/12/2023           C. Stephenson   B110/   Review and respond to UST                          0.20
                                                 correspondence regarding
                                                 stipulation.
 01/12/2023           C. Stephenson   B160/   Review and respond to                              1.40
                                                 correspondence regarding
                                                 supplemental declarations
                                                 (.8); draft correspondence
                                                 regarding conflicts list matters
                                                 (.6).
 01/12/2023           C. Stephenson   B185/   Review limited objection to                        1.20
                                                 Motion to Set Deadline to
                                                 Accept or Reject Executory
                                                 Contracts (.5); draft related
                                                 correspondence (.3); review
                                                 and respond to
                                                 correspondence regarding
                                                 leases for storage (.4).
 01/12/2023           C. Stephenson   B240/   Review and respond to                              0.20
                                                 correspondence regarding tax
                                                 returns.
 01/12/2023           E. Weaver       B110/   Finalize and file stipulation and                  0.40
                                                 agreed order regarding
                                                 additional extension of time
                                                 of debtor to file his schedules
                                                 and statements.
 01/12/2023           E. Weaver       B160/   Finalize and file supplemental                     0.40
                                                 declaration of Vickie Driver
                                                 in support of application to
                                                 employ Crowe & Dunlevy.
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                                                                                    Vickie L. Driver
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 01/12/2023           E. Weaver       B160/   Finalize and file supplemental                  0.40
                                                 declaration of Shelby Jordan
                                                 in support of application to
                                                 employ Jordan & Ortiz.
 01/13/2023           C. Craig        B110/   Review local rules regarding                    0.20
                                                 hearing requirements in
                                                 advance of January 20
                                                 hearing.
 01/13/2023           C. Craig        B190/   Review and analyze final                        0.20
                                                 judgment entered against
                                                 Debtor in Texas state court
                                                 action
 01/13/2023           V. Driver       B210/   Call to discuss business                        0.50
                                                  operations.
 01/13/2023           C. Stephenson   B110/   Review UCC correspondence                       0.50
                                                 regarding UST stipulation.
 01/13/2023           C. Stephenson   B160/   Draft correspondence regarding                  0.60
                                                 additional parties conflicts
                                                 searches.
 01/13/2023           E. Weaver       B110/   Draft agenda for hearing on 01-                 0.40
                                                 20-23 regarding utilities
                                                 motion.
 01/13/2023           E. Weaver       B120/   Review client documents (.1);                   0.30
                                                 email correspondence to
                                                 Blackbriar regarding 2018,
                                                 2020 (signed) and 2021 tax
                                                 returns (.2).
 01/13/2023           E. Weaver       B160/   Draft agenda for hearing on 01-                 0.60
                                                 20-23 regarding employment
                                                 of Crowe & Dunlevy and
                                                 Jordan & Ortiz and
                                                 compensation.
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                                                                                   Vickie L. Driver
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 01/13/2023           E. Weaver   B190/   Review dallaseservice email                        0.20
                                             inbox and circulate order on
                                             plaintiff's motion for leave to
                                             amend plaintiffs' fifth
                                             amended petition pending in
                                             Travis County, Texas.
 01/13/2023           E. Weaver   B190/   Review notice of final judgment                    0.40
                                             filed in the FSS case by Neil
                                             Heslin and Scarlett Lewis and
                                             circulate to team.
 01/14/2023           V. Driver   B210/   Calls with AJ and ESG on status                    1.50
                                              of contracts with FSS and
                                              related issues on disclosure
                                              (1.1); emails with ESG
                                              regarding same (.4); call with
                                              R. Battaglia on coordinating
                                              cases.
 01/14/2023           V. Driver   B210/   Calls with AJ and ESG on status                    2.10
                                              of contracts with FSS and
                                              related issues on disclosure
                                              (1.1); emails with ESG
                                              regarding same (.4); call with
                                              R. Battaglia on Coordination
                                              Cases (.6).
 01/16/2023           V. Driver   B120/   Review documents and                               1.80
                                             information on payments
                                             made and prenup payment
                                             requirements.
 01/16/2023           V. Driver   B150/   Review emails from creditors.                      0.40


 01/16/2023           V. Driver   B160/   Emails with Texas lawyers on                       0.20
                                            retention status.
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                                                                                    Vickie L. Driver
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 01/16/2023           V. Driver       B210/   Call with financial advisors                    1.20
                                                  regarding current contracts
                                                  between client and ESG and
                                                  FSS and eSG (.8); review eSG
                                                  contract with FSS regarding
                                                  termination language and
                                                  terms (.4).
 01/16/2023           C. Stephenson   B150/   Conference call regarding                       2.30
                                                 committee issues (.6); review
                                                 related pleading (1.7).
 01/17/2023           C. Craig        B110/   Review local rules regarding                    0.70
                                                 exhibit and witness list
                                                 requirements (.2); draft
                                                 exhibit and witness list for
                                                 January 20 hearing on
                                                 applications to employ
                                                 bankruptcy counsel, the
                                                 Utility Motion, and Motion
                                                 for Interim Compensation
                                                 Procedures (.5).
 01/17/2023           V. Driver       B110/   Analyze payments and                            0.80
                                                 responsiveness for SOFA (.7);
                                                 check on sending tax returns
                                                 to committee (.1).
 01/17/2023           V. Driver       B140/   Review and analyze motion for                   1.70
                                                 relief from stay filed by De La
                                                 Rosa and joint plaintiff to
                                                 pursue to liquidate in stat
                                                 court and outline response to
                                                 same.
 01/17/2023           V. Driver       B160/   Call with Texas Litigation                      0.80
                                                  lawyers on retention status
                                                  and terms (.7); email to CT
                                                  lawyer on information needed
                                                  on
                                                  retainer/payments/outstanding
                                                  amount for retention (.1).
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                                                                                   Vickie L. Driver
Post - petition

 01/17/2023           V. Driver   B210/   Review letters from committee                      1.20
                                             counsel and work on
                                             responding to same.
 01/17/2023           V. Driver   B210/   Review interim FSS cash                            0.50
                                             collateral order and emails
                                             with co- counsel on same.
 01/17/2023           A. Gerard   B150/   Draft correspondence to David                      1.80
                                             Zensky, attorney for
                                             committee of unsecured
                                             creditors, regarding status and
                                             progress of financial
                                             disclosures.
 01/17/2023           E. Weaver   B120/   Work with Akin Gump's litigation                   0.80
                                            support and sharefile link to
                                            forward all available tax
                                            returns.
 01/17/2023           E. Weaver   B160/   Analyze, organize and index                        3.20
                                             client files related to
                                             document production FSS
                                             shared with PQPR's counsel.
 01/18/2023           C. Craig    B110/   Develop bankruptcy strategy to                     0.40
                                             reach discharge for debtor.
 01/18/2023           C. Craig    B210/   Preparation for hearing on utility                 0.10
                                             motion.
 01/18/2023           V. Driver   B110/   Team meeting on status of                          0.80
                                             schedules, SOFA, and IDI
                                             materials.
 01/18/2023           V. Driver   B150/   Call with committee counsel on                     0.90
                                              pending matters (.7); emails
                                              with Security Bank regarding
                                              claim in AJ case versus FSS
                                              (.2).
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                                                                                     Vickie L. Driver
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 01/18/2023           V. Driver       B160/   Analyze issues to cover in 327(e)                1.60
                                                 employment apps for
                                                 litigation counsel and terms of
                                                 retention for same (.9); review
                                                 conflict lists for lawyers to
                                                 run for disinteredness and
                                                 conflicts purposes (.3); review
                                                 request from family attorney
                                                 for payment and respond with
                                                 requirement to be employed
                                                 in case to perform services or
                                                 be paid by the estate (.4).
 01/18/2023           V. Driver       B210/   Review email from ESG on FSS                     1.20
                                                 billing issues (.3); review
                                                 revised email from ESG on
                                                 pending matters (.9).
 01/18/2023           A. Gerard       B110/   Review and delegate list of                      0.80
                                                 pending matters in bankruptcy
                                                 case, including fee
                                                 applications, updating
                                                 conflicts, interim
                                                 compensation procedures, and
                                                 review of executory contracts.
 01/18/2023           A. Gerard       B160/   Begin drafting employment                        1.50
                                                 applications and
                                                 accompanying declarations
                                                 for special trial counsel and
                                                 special appellate counsel.
 01/18/2023           A. Gerard       B160/   Email correspondence with                        0.30
                                                proposed special counsel
                                                regarding updated conflicts
                                                list.
 01/18/2023           C. Stephenson   B110/   Draft Agenda for hearing and                     2.00
                                                 related correspondence (1.2);
                                                 review and revise witness and
                                                 exhibit list for hearing (.8).
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                                                                                       Vickie L. Driver
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 01/18/2023           C. Stephenson   B150/   Prepare for and attend call with                   0.70
                                                 UCC.
 01/18/2023           C. Stephenson   B160/   Revise employment orders (.4);                     1.00
                                                 draft related correspondence
                                                 (.6).
 01/18/2023           C. Stephenson   B185/   Draft revised order granting                       1.60
                                                 Motion to Set Time to
                                                 Assume or Reject (.8); draft
                                                 related correspondence (.8).
 01/18/2023           C. Stephenson   B210/   Draft and review correspondence                    0.80
                                                 regarding utility
                                                 communications in
                                                 preparation for hearing
                                                 regarding same.
 01/18/2023           E. Weaver       B130/   Review and compare IP client                       0.30
                                                 files to those received in email
                                                 from Ray Battaglia to ensure
                                                 we have received all files.
 01/18/2023           E. Weaver       B160/   Draft witness and exhibit list for                 0.70
                                                 hearing on 01-20-2023.
 01/18/2023           E. Weaver       B160/   Service email to all parties in                    0.20
                                                 interest with Exhibit 7 to
                                                 witness and exhibit list.
 01/19/2023           C. Craig        B110/   Perform research regarding                         0.30
                                                  motion to seal debtor's
                                                  schedules and statements.
 01/19/2023           C. Craig        B160/   Draft revisions to proposed order                  0.20
                                                 granting application to
                                                 employ Rachel Kennerly as
                                                 Debtor's tax accountant based
                                                 on comments by Trustee's
                                                 office.
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                                                                                   Vickie L. Driver
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 01/19/2023           C. Craig    B160/   Draft revisions to proposed order                  0.20
                                             granting application to
                                             employ Blackbriar Financial
                                             based on comments by
                                             Trustee's office.
 01/19/2023           V. Driver   B110/   Review rules for sealing material                  3.40
                                             filed on the docket and
                                             compare to FSS sealing
                                             efforts in its case to evaluate
                                             need in current case (1.1);
                                             review agenda for hearings
                                             (.3); preparation for hearings
                                             (1.6); review withdrawal of
                                             appearance for certain
                                             plaintiffs (.4).
 01/19/2023           V. Driver   B140/   Review and respond to COC                          0.20
                                             request from Texas plaintiff
                                             lawyer.
 01/19/2023           V. Driver   B160/   Review information needed to                       0.30
                                             finalize drafts employment
                                             aps for Texas lawyers and
                                             review how to obtain same.
 01/19/2023           V. Driver   B210/   Emails scheduling marketing                        0.30
                                            meeting with FSS.
 01/19/2023           A. Gerard   B160/   Correspondence with proposal                       0.50
                                             trial and appellate counsel
                                             regarding applications to
                                             employ.
 01/19/2023           A. Gerard   B160/   Continue drafting employment                       3.00
                                             applications for trial and
                                             appellate counsel for Debtor's
                                             state court matters.
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                                                                                    Vickie L. Driver
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 01/19/2023           A. Gerard       B185/   Complete research on                            4.60
                                                determining whether various
                                                types of contract are
                                                executory in the Fifth Circuit
                                                (2.0); review various of
                                                Debtor's contracts to
                                                determine executory nature of
                                                same (2.0); complete
                                                memorandum summarizing
                                                findings (.6).
 01/19/2023           C. Stephenson   B110/   Finalize agenda and redlined                    2.80
                                                 orders for filing in preparation
                                                 for hearing (1.9); address
                                                 issue regarding incorrect party
                                                 on matrix (.5); review and
                                                 respond to UST
                                                 correspondence regarding
                                                 same (.4).
 01/19/2023           C. Stephenson   B160/   Review and analyze issues                       0.80
                                                 regarding interim
                                                 compensation order.
 01/19/2023           C. Stephenson   B160/   Draft correspondence regarding                  0.60
                                                 proposed orders for
                                                 professionals whose
                                                 applications were filed with
                                                 negative notice.
 01/19/2023           C. Stephenson   B185/   Review and incorporate                          1.30
                                                 comments to proposed order
                                                 on Motion to Set Time to
                                                 Assume or Reject.
 01/19/2023           E. Weaver       B110/   Finalize and file clean and                     0.30
                                                 redlined version of proposed
                                                 order granting emergency
                                                 utility motion.
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                                                                                 Vickie L. Driver
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 01/19/2023           E. Weaver    B160/   Finalize and file clean and                     0.30
                                              redlined version of proposed
                                              order granting motion
                                              establishing procedures for
                                              interim compensation and
                                              reimbursement of expenses.
 01/19/2023           E. Weaver    B160/   Finalize and file agenda for                    0.30
                                              hearing on 01-20-2023.
 01/19/2023           E. Weaver    B160/   Compile pleadings and exhibits                  3.80
                                             for hearing on 01-20-2023 -
                                             hearing prep.
 01/19/2023           E. Weaver    B160/   Finalize and file clean and                     0.30
                                              redlined version of proposed
                                              order granting application for
                                              employment of Crowe &
                                              Dunlevy.
 01/19/2023           E. Weaver    B160/   Finalize and file clean and                     0.30
                                              redlined version of proposed
                                              order granting application for
                                              employment of Jordan &
                                              Ortiz.
 01/20/2023           N. Collins   B240/   Commence researching IRS                        1.60
                                             Guidance regarding tax
                                             treatment of gifts and
                                             payment of bitcoin and
                                             calculation of basis for federal
                                             income tax purposes.
 01/20/2023           V. Driver    B110/   Calls with BlackBriar on MOR                    1.60
                                               and review and analyze draft
                                               of same (1.1); call with UST
                                               on filing delay (.2); messages
                                               with UCC on delay of first
                                               MOR (.3).
 01/20/2023           V. Driver    B120/   Attend hearing on Motion to                     1.10
                                               Reconsider employment of
                                               firms in FSS.
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Matter #          00802                                                          Responsible Attorney
                                                                                     Vickie L. Driver
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 01/20/2023           V. Driver       B140/   Brief review of stay motions filed               0.70
                                                  in AJ and FSS cases.
 01/20/2023           V. Driver       B160/   Prepare for and attend hearings on               1.20
                                                 Applications to employ estate
                                                 professionals.
 01/20/2023           A. Gerard       B160/   Prepare for and attend hearing on                2.20
                                                 employment of C&D and
                                                 BlackBriar, interim
                                                 compensation procedures, and
                                                 submission date for Debtor's
                                                 schedules and statements.
 01/20/2023           C. Stephenson   B160/   Prepare for and attend hearing on                4.70
                                                 professional employment
                                                 applications and interim
                                                 compensation motion.
 01/20/2023           C. Stephenson   B160/   Draft and review correspondence                  0.50
                                                 regarding proposed orders on
                                                 professional orders.
 01/20/2023           C. Stephenson   B185/   Draft and review correspondence                  0.50
                                                 regarding proposed order on
                                                 Motion to Set Date to Assume
                                                 or Reject.
 01/20/2023           E. Weaver       B110/   Docket extended deadline to file                 0.10
                                                 schedules and statements.
 01/20/2023           E. Weaver       B160/   Docket deadline to file first                    0.10
                                                 monthly fee statement.
 01/20/2023           E. Weaver       B160/   Finalize and file clean and                      0.30
                                                 redlined version of proposed
                                                 order granting application to
                                                 employ Rachel Kennerly as
                                                 tax accountant.
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                                                                                  Vickie L. Driver
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 01/20/2023           E. Weaver    B160/   Finalize and file clean and                      0.30
                                              redlined version or proposed
                                              order granting application to
                                              employ Blackbriar Advisors
                                              as financial advisor.
 01/21/2023           V. Driver    B120/   Emails on corrective deed needed                 0.20
                                             on homestead.
 01/21/2023           V. Driver    B160/   Emails regarding format of                       0.30
                                             monthly fee statements with
                                             estate professionals.
 01/21/2023           V. Driver    B210/   Emails with co-counsel on                        0.20
                                             meeting to discuss FSS
                                             operations.
 01/23/2023           N. Collins   B240/   Review ledger of donations of                    0.60
                                              cryptocurrency to determine
                                              tax basis; analyze IRS
                                              guidance regarding
                                              cryptocurrency.
 01/23/2023           N. Collins   B240/   Call and correspondence                          1.90
                                               regarding the tax treatment of
                                               listener donations made via
                                               Bitcoin and the applicable tax
                                               rules for donations (1.0);
                                               evaluate correspondence from
                                               client's CPA regarding the tax
                                               treatment (.9).
 01/23/2023           N. Collins   B240/   Research regarding the tax                       2.70
                                              treatment of cryptocurrency.
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                                                                                     Vickie L. Driver
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 01/23/2023           V. Driver       B110/   Review and analyze MOR draft                     3.00
                                                 and provide comments to
                                                 same (1.2); call with UST on
                                                 delay of MOR (.2); message
                                                 for UCC on delay of MOR
                                                 (.1); call with client to discuss
                                                 status of MOR and set up
                                                 review time (.3); review
                                                 revised draft of MOR and
                                                 provide comments to same
                                                 (1.2).
 01/23/2023           V. Driver       B120/   Review and respond to emails                     0.60
                                                 from J. Schultz on issues with
                                                 CC processing changes (.2);
                                                 call with client and financial
                                                 advisors on issues with
                                                 operations at FSS (.4).
 01/23/2023           C. Stephenson   B110/   Review MOR and related                           1.60
                                                 correspondence.
 01/23/2023           C. Stephenson   B185/   Draft and review correspondence                  0.50
                                                 regarding proposed order on
                                                 Motion to Set Date to Assume
                                                 or Reject.
 01/23/2023           E. Weaver       B160/   Review interim compensation                      2.20
                                                 procedures order and draft
                                                 first interim fee statement.
 01/24/2023           N. Collins      B240/   Draft summary correspondence                     1.70
                                                 regarding the applicable tax
                                                 treatment of the transfers of
                                                 cryptocurrency.
 01/24/2023           N. Collins      B240/   Discussion regarding the facts and               1.20
                                                 circumstances relating to the
                                                 donations of cryptocurrency.
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                                                                                      Vickie L. Driver
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 01/24/2023           N. Collins      B240/   Review and analyze Coinbase                       0.90
                                                 donation ledger to determine
                                                 the available information with
                                                 respect to the donations.
 01/24/2023           V. Driver       B185/   Travel to Austin, Texas for                       1.80
                                                 meetings with Jones (3.6) –
                                                 billed at half time.
 01/24/2023           V. Driver       B190/   Review email from plaintiff’s                     1.80
                                                 counsel on potential
                                                 defamation claim (.3); call
                                                 with client on same (.4);
                                                 review interview for
                                                 background of demand (.7);
                                                 outline response to same and
                                                 lay out evidence to support
                                                 defense (.4).
 01/24/2023           C. Stephenson   B110/   Review revised MOR.                               0.80


 01/24/2023           C. Stephenson   B160/   Review correspondence regarding                   0.80
                                                 fee statement matters.
 01/24/2023           E. Weaver       B110/   Revise, finalize and file                         1.00
                                                 December MOR.
 01/24/2023           E. Weaver       B110/   Electronic document and case file                 3.20
                                                 management of December
                                                 bank statements (2.5); email
                                                 correspondence to and from
                                                 Akin Gump regarding bank
                                                 statements (.2); prepare
                                                 sharefile link and circulate
                                                 bank statements to UCC and
                                                 Blackbriar (.5).
 01/24/2023           E. Weaver       B160/   Prepare exhibits A and B to first                 1.00
                                                 monthly interim fee
                                                 statement.
 01/25/2023           C. Stephenson   B150/   Prepare for and attend call with                  0.70
                                                 UCC.
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 01/25/2023           C. Stephenson   B160/   Correspondence regarding fee                      2.60
                                                 statement (.8); review and
                                                 revise prebill regarding same
                                                 (1.8).
 01/25/2023           E. Weaver       B140/   Review and circulate to team                      0.40
                                                 motion for relief from stay
                                                 (.2); docket objection deadline
                                                 and hearing date for same (.2).
 01/26/2023           C. Stephenson   B160/   Draft correspondence regarding                    4.10
                                                 revisions to fee statement
                                                 (1.4); conference regarding
                                                 same (.8); review and revise
                                                 draft statement document (.8);
                                                 review final invoice (1.1).
 01/26/2023           E. Weaver       B160/   Review UCC's employment                           0.20
                                                 application and docket
                                                 objection deadline for same.
 01/26/2023           E. Weaver       B185/   Review email correspondence to                    0.30
                                                 Ray Battaglia regarding
                                                 deadline to assume or reject
                                                 deadline in the FSS case (.1);
                                                 review case docket regarding
                                                 same (.2).
 01/26/2023           E. Weaver       B185/   Review leases received from Ray                   0.80
                                                 Battaglia, code and save to
                                                 Litshare.
 01/27/2023           C. Stephenson   B160/   Review and revise financial                       3.90
                                                 advisors fee statement (.8);
                                                 review and revise Crowe &
                                                 Dunlevy fee statement (1.3);
                                                 draft related correspondence
                                                 (1.8).
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 01/27/2023           E. Weaver   B160/   Revise, finalize and file first                 2.60
                                             monthly fee statement of
                                             Crowe & Dunlevy (2.4);
                                             email correspondence to
                                             notice parties with service
                                             copy of fee statement (.2).
 01/27/2023           E. Weaver   B160/   Revise, finalize and file first                 1.60
                                             monthly fee statement of
                                             Blackbriar Advisors (1.4);
                                             email correspondence to
                                             notice parties with service
                                             copy of fee statement (.2).
 01/30/2023           C. Craig    B160/   Draft application to employ the                 1.30
                                             Reynal Firm, declaration in
                                             support of same, and
                                             proposed order granting same.
 01/30/2023           E. Weaver   B130/   Review information received                     0.50
                                             from the Guadalup County
                                             Tax Office (.1); procure
                                             quitclaim deeds for the
                                             Guadalup and Lake Travis
                                             properties and forward to
                                             Blackbriar Advisors (.4).
 01/30/2023           E. Weaver   B160/   Search emails for                               0.20
                                             communications with Chris
                                             Martin and forward to team in
                                             preparation of employment
                                             application for Martin,
                                             Disiere, Jefferson & Wisdom
                                             and forward to team.
 01/31/2023           C. Craig    B160/   Draft application to employ the                 0.70
                                             Reynal Law Firm as special
                                             counsel to Debtor (.3); draft
                                             declaration in support of same
                                             (.3); exchange
                                             correspondence with the
                                             Reynal Law Firm regarding
                                             same (.1).
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 01/31/2023           A. Gerard       B110/   Email correspondence with                          0.50
                                                counsel for other parties
                                                regarding availability and
                                                setting a date for the next
                                                omnibus hearing.
 01/31/2023           A. Gerard       B140/   Begin review of relevant legal                     1.70
                                                 authority in preparation for
                                                 drafting objection to Pozner
                                                 and De La Rose motion to lift
                                                 stay.
 01/31/2023           A. Gerard       B160/   Email correspondence regarding                     0.50
                                                obtaining updated
                                                engagement agreements for
                                                Debtor to include with
                                                employment applications for
                                                trial and appellate counsel.
 01/31/2023           C. Stephenson   B110/   Attend UCC FA introduction call.                   0.50


 01/31/2023           C. Stephenson   B185/   Review and respond to creditor                     0.80
                                                 correspondence regarding
                                                 proposed order for motion to
                                                 set date to assume or reject
                                                 employment contract (.4);
                                                 draft Court correspondence
                                                 (.2); review and revise
                                                 proposed order (.2).
 01/31/2023           E. Weaver       B120/   Electronic case file management                    4.20
                                                 of litigation settlement trust,
                                                 additional IP documents and
                                                 Aurian FSS files.
 01/31/2023           E. Weaver       B185/   Finalize and file proposed order                   0.30
                                                 granting motion to fix a date
                                                 by which debtor must assume
                                                 or reject executory contract.
                                                                     Total Hours               222.00

 Total Fees for this Invoice                                                             $130,221.00
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                                  SUMMARY OF TASKS
                                                             Task
                  Task    Hours       Amount               Description
                  B110    62.00      39,179.00   Bankruptcy - Case
                                                 Administration
                  B120    20.90       9,590.50   Bankruptcy - Asset Analysis and
                                                 Recovery
                  B130     1.30        583.50    Bankruptcy - Asset Disposition
                  B140     4.70       2,771.50   Bankruptcy - Relief from
                                                 Stay/Adequate Protection
                                                 Proceedings
                  B150     8.80       5,734.00   Bankruptcy - Meetings of and
                                                 Communications with Creditors
                  B160    71.80      37,588.00   Bankruptcy - Fee/Employment
                                                 Applications
                  B185    13.70       7,649.50   Bankruptcy -
                                                 Assumption/Rejection of Leases
                                                 and Contracts
                  B190     9.70       6,642.50   Bankruptcy - Other Contested
                                                 Matters (excluding
                                                 assumption/rejection motions)
                  B195     4.00       2,860.00   Bankruptcy - Non-Working
                                                 Travel
                  B210    11.50       8,548.50   Bankruptcy - Business
                                                 Operations
                  B240    13.30       8,985.50   Bankruptcy - Tax Issues
                  B320     0.30         88.50    Bankruptcy - Plan and
                                                 Disclosure Statement (including
                                                 Business Plan)
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                                       SUMMARY OF TASKS
                                                                       Task
                  Task         Hours          Amount                 Description
                  Total       222.00      $130,221.00



01/04/2023         Stephenson, Christina reimbursement for working meal                           $34.60

01/06/2023         Stephenson, Christina reimbursement of travel expenses to Austin               951.02
                   Texas during client meeting 1/4-6/2023; transportation $ 258.00,
                   lodging $ 498.91 and dinner $ 194.11

01/10/2023         Stephenson, Christina reimbursement for working meal with Harold               100.19
                   Kessler, Allison and Vickie Driver 12/7/2022

       Subtotal of Expenses                                                                    $1,085.81
 Online Research                                                                                   $3.40

        Subtotal of Costs                                                                          $3.40
 Total Expenses and Costs for this Invoice                                                     $1,089.21


                                SUMMARY OF DISBURSEMENTS
                           Task                                        Task
                           Code             Amount                  Description
                           E106                 3.40     On-line research
                           E110              951.02      Out-of-town travel
                           E111              134.79      Meals
                           Total          $1,089.21



Total For This Invoice                                                                        $131,310.21
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                              SUMMARY OF FEES
                                     Hours        Hourly                Bill
                   Name             Worked          Rate             Amount
      V. Driver                       43.10       795.00           34,264.50
      C. Stephenson                   87.40       715.00           62,491.00
      E. Weaver                       48.50       295.00           14,307.50
      A. Gerard                       18.40       345.00            6,348.00
      N. Collins                      13.10       675.00            8,842.50
      C. Craig                        11.50       345.00            3,967.50
      Total                          222.00                      $130,221.00
